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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                       §
                                       §
                                       §
IN RE STACY SYLVESTER LEE MERRITT, SR. §             3:18-MC-00042-B
                                       §                                             .
                                       §
                                       §


                      RESPONSE TO ORDER TO SHOW CAUSE

      Stacy Sylvester Lee Merritt responds as follows to the June 4, 2018 Order to

Show Cause (Doc. 1):

                             Summary of this Response

      This Court concludes in its June 4 Order that Mr. Merritt should have

reported proceedings in state district court in Collin County to this Court under

Local Rule 83.8(d).

      Mr. Merritt explains in this response that he engaged the undersigned

counsel in connection with the Collin County state court proceedings, that his

counsel negotiated the entry of a consent judgment in that case, and that his

counsel concluded that that it was unnecessary to report the proceedings to the

clerk of this Court, because Mr. Merritt did not “lose or relinquish” the right to

practice in any court of record. The consent judgment recognizes and preserves Mr.

RESPONSE TO ORDER TO SHOW CAUSE                                          PAGE 1